
Pee Cueiam.
This is an appeal from an order denying plaintiff’s motion to compel delivery by sheriff to plaintiff of property which the sheriff on plaintiff’s requisition had taken in replevin. It appears that the defendant is a warehouseman; that he received the goods in question from one Alexander Agar on storage and issued his receipt therefor, and that he prevented a delivery to the plaintiff by delivering to the sheriff the notice, affidavit and undertaking required by § 1704 of the Code of Civil Procedure. The affidavit was sufficient for the reasons stated by the learned judge below, and we can see no merit in any of the points raised by the appellant.
The order should be affirmed with ten dollars costs and disbursements.
